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                                                                          6                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
                                                                          9   NUANCE COMMUNICATIONS, INC.,
                                                                         10                  Plaintiff,                                 No. C 08-02912 JSW
                                                                         11     v.
United States District Court
                               For the Northern District of California




                                                                         12   ABBYY SOFTWARE HOUSE ET AL,                               ORDER SETTING BRIEFING
                                                                                                                                        SCHEDULE ON MOTION FOR
                                                                         13                  Defendants.                                PROTECTIVE ORDER
                                                                                                                              /
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                                                                         15          This matter is set for a hearing on August 28, 2009 on Defendants Abbyy Software, Ltd.
                                                                         16   And Abbyy Production LLC’s motion for protective order. The Court HEREBY ORDERS that
                                                                         17   an opposition to the motion shall be filed by no later than August 10, 2009 and a reply brief
                                                                         18   shall be filed by no later than August 17, 2009.
                                                                         19          If the Court determines that the matter is suitable for resolution without oral argument, it
                                                                         20   will so advise the parties in advance of the hearing date. If the parties wish to modify this
                                                                         21   schedule, they may submit for the Court’s consideration a stipulation and proposed order
                                                                         22   demonstrating good cause for any modification requested.
                                                                         23          IT IS SO ORDERED.
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                                                                         25   Dated: July 27, 2009
                                                                                                                                        JEFFREY S. WHITE
                                                                         26                                                             UNITED STATES DISTRICT JUDGE
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